                       Case 8-20-08050-ast                     Doc 1-3         Filed 03/14/20         Entered 03/14/20 00:06:30
1040 (Form 1040) (12/15)
                   ADVERSARY PROCEEDING COVER SHEET                                                             ADVERSARY PROCEEDING NO.
                                      (Instructions on Reverse)
PLAINTIFF(S)                                      DEFENDANT(S)
HOWARD M. EHRENBERG IN HIS CAPACITY AS            PORTECK CORPORATION; PORTECK CORPORATION
LIQUIDATING TRUSTEE OF ORION HEALTHCORP, INC., ET D/B/A VISIENT CORP.
AL.,

ATTORNEY(S) (Firm Name, Address, Telephone No.)                                      ATTORNEY(S) (If Known)
Ilan D. Scharf, Esq.

Jeffrey P. Nolan, Esq. (pro hac vice pending)
Pachulski Stang Ziehl & Jones LLP
780 Third Avenue, 34th Floor
New York, NY 10017
Telephone: (212) 561-7700
 PARTY (Check One Box Only)                                                          PARTY (Check One Box Only)
   Debtor           U.S. Trustee                                                         Debtor           U.S. Trustee
    Creditor           Trustee              Other                                        Creditor         Trustee                                 Other
CAUSE OF ACTION (Write a brief statement of cause of action, including all U.S. statutes involved.)
Avoidance of Preferential Transfers -11 U.S.C. §§ 547 and 550




                                                                             NATURE OF SUIT
     (Number up to 5 boxes with the lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


FRBP 7001(1) - Recovery of Money/Property                                            FRBP 7001(6) - Dischargeability (continued)
   11 - Recovery of money/property - § 542 turnover of property                        61 - Dischargeability - § 523(a)(5), domestic support
   12 - Recovery of money/property - § 547 preference                                  68 - Dischargeability - § 523(a)(6), willful and malicious injury
   13 - Recovery of money/property - § 548 fraudulent transfer                         63 - Dischargeability - § 523(a)(8), student loan
   14 - Recovery of money/property - other                                             64 - Dischargeability-§ 523 (a)(15), divorce or separation obligation
                                                                                              (other than domestic support)
                                                                                       65 - Dischargeability - other
FRBP 7001(2) - Validity, Priority or Extent of Lien
   21 - Validity, priority or extent of lien or other interest in property
                                                                                    FRBP 7001(7) - Injunctive Relief
                                                                                       71 - Injunctive relief - imposition of stay
FRBP 7001(3) - Approval of Sale of Property
   31 - Approval of sale of property of estate and of a co-owner - § 363(h)            72 - Injunctive relief - other

                                                                                    FRBP 7001(8) - Subordination of Claim or Interest
FRBP 7001(4) - Objection/Revocation of Discharge
                                                                                       81-Subordination of claim or interest
    41 - Objection/revocation of discharge - § 727(c), (d), (e)

                                                                                    FRBP 7001(9) - Declaratory Judgment
FRBP 7001(5) - Revocation of Confirmation
                                                                                       91 - Declaratory judgment
   51 - Revocation of confirmation

FRBP 7001(6) - Dischargeability                                                     FRBP 7001(10) - Determination of Removed Action
   66 - Dischargeability - § 523(a)(1), (14), (14A) priority tax claims                01 - Determination of removed claim or cause
   62 - Dischargeability - § 523(a)(2), false pretenses, false representation,
        actual fraud                                                                Other
   67 - Dischargeability - § 523(a)(4), fraud as fiduciary, embezzlement,              SS-SIPA Case - 15 U.S.C. §§ 78aaa et seq.
        larceny
                                                                                       02 - Other (e.g.,other actions that would have been brought in state court
(continued next column)                                                                        if unrelated to bankruptcy case)
    Check if this case involves a substantive issue of state law                      Check if this is asserted to be a class action under FRCP 23
    Check if a jury trial is demanded in complaint                                   Demand: $630,688.00

Other Relief Sought:

                                                                                                                                           American LegalNet, Inc.
                                                                                                                                           www.FormsWorkFlow.com
DOCS_LA:328338.1 65004/003
                     Case 8-20-08050-ast    Doc 1-3     Filed 03/14/20      Entered 03/14/20 00:06:30
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                             BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                BANKRUPTCY CASE NO.
ORION HEALTHCORP, INC, et al.                                 18-71748 (AST)

DISTRICT IN WHICH CASE IS PENDING                             DIVISION OFFICE                 NAME OF JUDGE
EASTERN DISTRICT OF NEW YORK                                                                  Alan S. Trust

                                       RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                    DEFENDANT                                     ADVERSARY PROCEEDING NO.



DISTRICT IN WHICH ADVERSARY PROCEEDING IS PENDING             DIVISION OFFICE              NAME OF JUDGE



SIGNATURE OF ATTORNEY (OR PLAINTIFF)                          PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                              ILAN D. SCHARF
/s/ Ilan D. Scharf


DATE
March 13, 2020



                                                      INSTRUCTIONS


The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of
the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

A party filing an adversary proceeding must also complete and file Form 104, the Adversary Proceeding Cover
Sheet. When completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of
court needs the information to process the adversary proceeding and prepare required statistical reports on court
activity.


The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or
other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self‐
explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff, if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.
                                                                                                        American LegalNet, Inc.
                                                                                                        www.FormsWorkFlow.com
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